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Exhibit "A"
256969 Thanh Nguyen (256969) Pascagoula MS
262462 John Campbell (262462) Biloxi MS
262484 Hanh Le (262484) Biloxi MS
262502 Duc Duong (262502) Diberville MS
262505 Khanh Bui (262505) Biloxi Ms
262508 Minh Nguyen (262508) Ocean Springs MS
262618 Trai Vo (262618) Biloxi MS
262631 Nhat Duong (262631) — Biloxi MS
266159 Debra Tyler (266159) Biloxi MS
266180 Hai Tran (266180) Biloxi MS
278734 Trang Nguyen (278734) Groves TX
278736 Han Le (278736) Ocean Springs MS

